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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                                 Criminal No. 19-155 (DRD)
HECTOR SANCHEZ-MORALES,

       Defendant.




                                  MOTION TO RESTRICT


TO THE HONORABLE DANIEL R. DOMINGUEZ
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW the Federal Public Defender for the District of Puerto Rico through

the undersigned attorney, and very respectfully states, alleges and prays as follows:

       1.      Concomitant with the foregoing request, the Federal Public Defender is filing

a motion on behalf of Mr. Héctor Sánchez-Morales.

       2.      In order to maintain the privacy of medical information contained therein, the

undersigned requests leave to file it using the ex parte viewing restriction.

       3.      This motion to restrict is filed in compliance with Standing Order No. 9 issued

by the Honorable Aida M. Delgado Colon, Judge of the United States District Court for the

District of Puerto Rico, Misc. No. 03-149 (ADC).

       WHEREFORE, it is respectfully requested that this Honorable Court take notice of

the present motion and that the same be granted.
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      I HEREBY CERTIFY that on this date I electronically filed the present motion with

the Clerk of Court using the CM/ECF system which will send notification to all parties of

record.

      RESPECTFULLY SUBMITTED.

      In San Juan, Puerto Rico, this 15 th day of April, 2019.



                                         ERIC A. VOS
                                         Federal Public Defender


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